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      KRISTIE LOCK <kristielock@wsdr4.org>
    KERI SKEETERS <keriskeeters@wsdr4.org>
         Book Challenges
      October 13, 2021 at 8:20:05 AM CDT

 Good morning.

 I found the board policy and read through the process. I could not ﬁnd the form that concerned
 patrons are required to complete.

 Why are we permanently pulling books without a committee review? I feel that we are sending
 the wrong message. Are these people going to think they can simply ﬁll out a form and have a
 book removed without discussing the merits of the ENTIRE book? It seems that one small
 passage from the books is being targeted.

 As a librarian, I feel that I should be allowed to see the complaint.

 Are Dr. Cain and the board president already forming the committee?

 I am sure I will have more questions, as this hurts my library nerd heart to the core.

 Thanks for your time.

 On Wed, Oct 13, 2021 at 7:00 AM KERI SKEETERS <keriskeeters@wsdr4.org> wrote:
   Hi Kristie,

   We've had 5 challenged materials forms submitted, all from the same person. All complaints
   are indicating the content in the books is pornography and in the case of one book,
   pedophilia. The books are:




   We are taking          and                      through the challenge process. The other books
   have been permanently removed.

   I've attached the regulation so you can see how the committee is formed. Dr. Cain is largely
   responsible; however, the board president is the one who recommends the "lay participants."
   We will end up with a total of 4. You can certainly send me some names and I'll be happy to
   share them with Dr. Cain.

   There are 3 teachers who serve on the committee and those are selected by Dr. Cain.

   I think I addressed everything you asked but make sure that I did please and let me know if
   I didn't.

   Thanks for reaching out!




                                                                                   Exhibit 28
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                          Assistant Superintendent | Teaching & Learning

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   wentzville.k12.mo.us      #wearewentzville #wsdlearns




  On Tue, Oct 12, 2021 at 7:40 AM KRISTIE LOCK <kristielock@wsdr4.org> wrote:
   Good Morning.

     Wondering if the process has begun to form the committee to address the book challenges
     that are coming in. I have a few people in mind that would be good members. They are
     currently parents of students in the district.

     Also, how are the four teachers chosen? Will all four high schools be represented?

     Can you tell me what books are being challenged so far? And, are we allowed to see the
     formal complaints?

     Thanks,
     Kristie

     --
     Kristie Lock
     Librarian




                                                                                Exhibit 28
